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       Attorney(s) for Rothschild Patent Imaging, LLC
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   7
                        IN THE UNITED STATES DISTRICT COURT
   8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
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        ROTHSCHILD PATENT IMAGING,
        LLC,                                           CASE NO.: 8:21-cv-01809-JLS-KES
  11
                            Plaintiff,
  12                                                   NOTICE OF VOLUNTARY
        v.                                             DISMISSAL WITHOUT
  13
                                                       PREJUDICE
  14    CIRCLE 38, INC.,

  15                        Defendant.
  16

  17         Plaintiff Rothschild Patent Imaging, LLC (“Plaintiff” and/or “RPI”) files this
  18   Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
  19   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
  20   by the plaintiff without order of court by filing a notice of dismissal at any time before
  21   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
  22   dismisses this action against Defendant Circle 38, Inc. without prejudice, pursuant to
  23   Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
Case 8:21-cv-01809-JLS-KES Document 11 Filed 11/14/21 Page 2 of 2 Page ID #:51




   1   Dated: November 11, 2021               Respectfully submitted,
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                                              /s/Stephen M. Lobbin
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                                  CERTIFICATE OF SERVICE
  10
             I hereby certify that on November 11, 2021, I electronically transmitted the
  11
       foregoing document using the CM/ECF system for filing, which will transmit the
  12
       document electronically to all registered participants as identified on the Notice of
  13
       Electronic Filing, and paper copies have been served on those indicated as non-
  14
       registered participants.
  15                                          /s/ Stephen M. Lobbin
  16                                          Stephen M. Lobbin

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                          NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
